Case 3:23-cv-00208-TCB Document9 Filed 11/20/23 Page 1 of 2

IN THE UNITED STATE DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

NEWNAN DIVISION
AMERICA FIRST LEGACY PAC, .
Plaintiff, *
* CIVIL ACTION FILE
v. *
* NO: 3:23 cv 208 TCB
ANGIE WONG *
(a.k.a. ANGIE WONG SIE YING), :
Defendant. *

MOTION TO REMAND CASE TO STATE COURT

Now Comes, America First Legacy PAC, Plaintiff herein, by and
through its undersigned counsel, hereby moves this Court pursuant to 28
USC §1447 and 28 USC §1332 to remand this case to the Superior Court of
Coweta County, and support thereof, shows the following:

1.

Defendant herein filed his Notice to Remove this action from the
Superior Court of Coweta County on November 3, 2023 based solely on
diversity jurisdiction as defined in 28 USC §1332.

2.
Plaintiff filed its Notice to Amend Petition and Amended Petition on

November 20, 2023 that reduced the amount in controversy to $72,500.00.
Case 3:23-cv-00208-TCB Document9 Filed 11/20/23 Page 2 of 2

3.

Pursuant to 28 USC §1332, for a federal district court to have subject-
matter jurisdiction, in addition to diversity in state citizenship, the amount
in controversy must be $75,000.00 or greater. In light of Plaintiff's
Amended Petition, this Court no longer has subject-matter jurisdiction over
this action.

WHEREFORE, Plaintiff respectfully moves this Court to remand this
action back to the Superior Court of Coweta County.

This 20% day of November, 2023

/s/ Jared B. Craig, Esq.

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